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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


DWAYNE HARRIS,

                                     Plaintiff,                  9:20-CV-1482
                                                                 (GTS/DJS)
           v.

SUPERINTENDENT UHLER, et al.,

                                     Defendants.


APPEARANCES:

DWAYNE HARRIS
13-A-5573
Plaintiff, pro se
Green Haven Correctional Facility
P.O. Box 4000
Stormville, NY 12582

GLENN T. SUDDABY
Chief United States District Judge

                                     DECISION and ORDER

I.     INTRODUCTION

       On December 3, 2020, Plaintiff Dwayne Harris ("Plaintiff") commenced this action pro

se by filing a Complaint and an incomplete In Forma Pauperis Application ("IFP Application").

Dkt. Nos. 1 and 2. On December 4, 2020, the Court issued an Order administratively closing

this action due to Plaintiff's failure to comply with the filing fee requirements. Dkt. No. 4 (the

"December Order"). Plaintiff was advised that if he desired to pursue this action he must so

notify the Court and either (1) pay the filing fee of $402.00 in full, or (2) submit a completed,

signed and properly certified IFP Application within thirty (30) days of the filing date of that

Order. Id. On December 28, 2020, Plaintiff filed a second IFP Application and an Inmate
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Authorization Form. Dkt. Nos. 5 and 6.

II.     DISCUSSION

        A civil action is commenced in federal district court "by filing a complaint." Fed. R. Civ.

P. 3. The filing fees must be paid at the time an action is commenced, unless an IFP

Application is submitted to the Court. See 28 U.S.C. §§ 1914(a), 1915(a). The federal

statute governing applications to proceed in forma pauperis in federal court, the Prison

Litigation Reform Act ("PLRA"), 28 U.S.C. § 1915, provides in pertinent part that an IFP

Application must be accompanied by "a certified copy of the trust fund account statement (or

institutional equivalent) for the prisoner for the 6-month period immediately preceding the

filing of the complaint or notice of appeal, obtained from the appropriate official of each

prison at which the prisoner is or was confined." 28 U.S.C. § 1915(a)(2). In accordance with

Local Rule 5.1.4 of the Local Rules of Practice for the Northern District of New York

("N.D.N.Y.L.R."), a prisoner seeking in forma pauperis status in a civil action subject to the

PLRA may satisfy this requirement by submitting a completed, signed, and certified IFP

Application. N.D.N.Y.L.R. 5.1.4(b)(1)(A).1 Local Rule 5.1.4 further provides that if the

prisoner fails to fully comply with the above-described requirements after being informed by

Court order of what is required, "the Court shall dismiss the action." N.D.N.Y.L.R.

5.1.4(b)(2)(A).2



        1
           A "certified" IFP Application is one on which the Certificate portion at the bottom of page two of the
form IFP Application has been completed and signed by an appropriate official at the plaintiff's facility. The
Certificate portion of the IFP Application requests information regarding funds and/or securities held on account
to the inmate's credit over the preceding six months.
        2
            Upon compliance with the filing fee requirements, the Court must consider Plaintiff's IFP Application in
light of the three-strikes provision of 28 U.S.C. § 1915(g) and, if appropriate, review the Complaint in accordance
with 28 U.S.C. § 1915(e) and/or 28 U.S.C. § 1915A.

                                                         2
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        Upon review, the Court finds that the second IFP Application was completed and

signed by Plaintiff. See Dkt. No. 5 at 2. The IFP Application however, has not been certified

by an appropriate official at Plaintiff's facility nor have copies of Plaintiff's inmate account

statements been provided. Plaintiff's IFP Application (Dkt. No. 5) is incomplete and must be

denied.

        In light of Plaintiff's pro se status, the Court will afford him a final opportunity to

comply with the filing fee requirements for this action. If Plaintiff fails to timely comply, this

action will be dismissed without prejudice without further Order of the Court.

III.    CONCLUSION

        WHEREFORE, it is hereby

        ORDERED that Plaintiff's renewed IFP Application (Dkt. No. 5) is DENIED as

incomplete; and it is further

        ORDERED that plaintiff must, within thirty (30) days of the filing date of this Decision

and Order, either (1) pay the $402.00 filing fee in full, or (2) submit an IFP Application which

has been completed and signed by him and which has been certified by an appropriate

official at his facility;3 and it is further

        ORDERED that in the event Plaintiff fails to timely comply with the filing fee

requirements set forth in this Decision and Order, this action will be dismissed without

prejudice without further Order of this Court; and it is further

        ORDERED that upon Plaintiff's compliance with this Decision and Order, the file shall

be returned to the Court for further review; and it is further

        3
          As noted, certified account statements may be submitted in lieu of the completed certificate portion of
the IFP Application. See 28 U.S.C. § 1915(a)(2).

                                                        3
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       ORDERED that the Clerk shall serve a copy of this Decision and Order on Plaintiff.

The Clerk is directed to send Plaintiff a blank IFP Application; and shall also send Plaintif f a

second copy of this Decision and Order, which Plaintiff may provide to the inmate accounts

office at his facility along with his request for certification of his completed and signed IFP

Application (and/or certified copies of his inmate account statements).


Dated: January 11, 2021




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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK
_________________________________

                      Plaintiff(s)                   APPLICATION TO PROCEED
                                                     WITHOUT FULL PREPAYMENT
               v.                                    OF FEES IN ACTIONS COMMENCED
                                                     PURSUANT TO 42 U.S.C. § 1983


                  Defendant(s)                       CASE NUMBER:           ______________
_________________________________

I, ______________________, declare that I am (check appropriate box)

       □ plaintiff/movant             □ other

in the above-entitled proceeding and that, in support of my request to proceed without
prepayment of fees or costs under 28 U.S.C. § 1915, I declare that I am unable to pay the costs of
these proceedings and that I am entitled to the relief sought in the complaint/motion.

In support of this application, I answer the following questions under penalty of perjury:

1.     Are you currently incarcerated?               □ Yes          □ No (if “no,” go to Question
                                                                      No. 2)

       If “yes,” state the place of your incarceration: __________________________

       Are you employed at the institution?          □ Yes          □ No

       Do you receive any payment from same?         □ Yes          □ No

Notice to Inmates:    The Certificate Portion Of This Affidavit Must Be Completed In
                      Accordance With Rule 5.4(b)(1)(A) Of The Local Rules Of Practice
                      For This Court OR You Must Include, Along With This Affidavit,
                      Certified Copies Of Your Inmate Account Statement For The Last Six
                      Months In Accordance With 28 U.S.C. § 1915(a)(2)

2.     Are you currently employed?                   □ Yes          □ No

       a.      If the answer is “yes,” state the amount of your take-home salary or wages and
               pay period and give the name and address of your employer.

       b.      If the answer is “no,” state the date of your last employment, the amount of your
               take-home salary or wages, and the name and address of your last employer.
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3.      In the past twelve months have you received any money from any of the following
        sources?

        a.       Business, profession, or other self-employment                  □ Yes            □ No

        b.       Rent payments, interest, or dividends                           □ Yes            □ No

        c.       Pensions, annuities, or life insurance payments                 □ Yes            □ No

        d.       Disability or workers compensation payments                     □ Yes            □ No

        e.       Gifts or inheritances                                           □ Yes            □ No

        f.       Any other sources                                               □ Yes            □ No

        If the answer to any of the above is “yes,” describe each source of money and state the
        amount received and what you expect you will continue to receive. (Attach additional
        pages if necessary.)

4.      Do you have any cash, checking, or savings accounts?                     □ Yes            □ No
        If “yes,” state the total amount: ___________________

5.      Do you own any real estate, stocks, bonds, securities, other financial instruments,
        automobiles or any other assets?                               □ Yes          □ No
        If “yes,” describe the property and state its value. (Attach additional pages if necessary.)

6.      List the person(s) who are dependent on you for support, state your relationship to each
        person, and indicate how much you contribute to their support. (Attach additional pages
        if necessary.)

I declare under penalty of perjury that the above information is true and correct.


_____________________                                          _______________________________
DATE                                                           SIGNATURE OF APPLICANT


                                               CERTIFICATE
                      (To be completed by appropriate official at institution of incarceration)

I certify that the applicant named herein has the sum of $ _____________ on account to his/her credit at (name of
institution) _________________________.
I further certify that the applicant has the following securities to his/her credit: _____________.
I further certify that during the past six months the applicant’s average balance was $ ____________.


_____________________                                ________________________________________
DATE                                                 SIGNATURE OF AUTHORIZED OFFICER


                                                         2
